Joey Kimbrough
THSI1976
Last 4 of SSN - 0233

4712 Candy Court South
Kokomo, IN 46902
211412022

Snac-On Credit
350 Technology Way Suite 307
Libertyville, 1L 60048

To Whom it May Concern,

| arn writing to dispute the following inaccurate information being reported on my Equifax and Experian
consumer reports:

Dispute 1

Acct #12356°""

Snap-On Credit

installment Account

Date Opened August 5, 2015

The “High Credit Limit” is the correct amount $12,358.00 as indicated on my Experian report or
$7,075.00 as indicated on my Equifax report? Please verify and change or delete this inaccurate
information.

Dispute 2

Acct #12356"

Snap-On Credit

instaliment Account

Date Opened August 5, 2015

The “Date Last Active” is the correct date 8/01/2020 as indicated on my Experian report or 6/01/2020 as
indicated on my Equifax report? Please verify and change/delete this inaccurate information.

i am well aware of my rights under the FCRA and take my personal credit VERY serious! | would expect
that Snap-On Credit will do the same and change/delete this inaccurate information as soon as the
verification process has been completed. | look forward to hearing from you in the next 30 days.

Joey Kimbrough
7/19/1970
Last 4 of SSN - 0233

1712 Candy Court South
Kokomo, IN 46902
3/17/2022

Snap-On Credit
950 Technology Way Suite 301
Libertyville, iL 60048

CFO or the highest ranking officer Snap-On Credit,

NOTICE TO AGENT IS NOTICE TO PRINCIPAL NOTICE TO PRINCIPLE IS NOTICE TO AGENT

‘You (Snap-On Company) have been made aware in previous correspondence that your company is

furnishing inaccurate and incorrect information to the consumer reporting agencies!

The reporting of inaccurate information has caused severe damage to my character, my reputation, my

general mode of living, and my ability to obtain credit for personal and household uses.

You and your inaccurate reporting have damaged my livelihood.

15 USC 1681 s-2 Responsibilities of furnishers of information to consumer reporting

agencies

(a)Duty of furnishers of information to provide accurate information
(1)Prohibition

{A)Reporting information with actual knowledge of errors

person shall not furnish any information relating to a cons:
g agency if the person knows or has reasonabie ce

rmation Is inaccurate,

(B)Reporting information after notice and confirmation of errors

A person shall not furnish information relating to a consumer to any consumer

reporting agency if—

(i)the person has been notified by the consumer, at the address specified by the

person for such notices, that specific information is inaccurate; and

{ii)the information is, in fact, inaccurate.
Duty - “a moral or legal obligation; a responsibility.”
Accurate - “correct in al} details; exact.”

Prohibition - “the action of forbidding something, especially by law.”

As defined by the IRS 2021 Publication 4681

“Even if you don’t receive a Form 1099-C, you must report canceled debt as gross income on your tax
return.”

The IRS clearly defines a charge off as Gross or Ordinary income. INCOME DOES NOT GET
REPORTED ON THE CONSUMER REPORT which in fact makes your reporting of this account
inaccurate.

By definition the IRS clearly says a canceled debt or charge-off is income. The reporting of this
account as a debt is inaccurate.

15 USC 1681 s-2 says Snap-On Credit is a furnisher of information to a consumer reporting agency.

You are PROHIBITED BY LAW to furnish incorrect/inaccurate information. | demand you to cease
and desist the reporting of inaccurate information immediately!

15 USC 1681 s-2 (a)(1)(A)

A person shall not furnish any information relating to a consumer to any consumer
reporting agency if the person knows or has reasonable cause to believe that the
information is inaccurate.

You are hereby put on notice that you are reporting incorrect/inaccurate
information.

“The lender must file Form 1099-C and send you a copy if the amount of debt canceled is $600 or
more and the lender is a financial institution, credit union, federal government agency, or other
applicable entity as discussed earlier in chapter 1.”

The above paragraph is taken directly from the IRS 2021 publication.

SEND ME MY FORM 1099-C that you should have sent me when you filed the account as a canceled
debt.

15 USC 1681 s-2

(a)Duty of furnishers of information to provide accurate information
(1)Prohibition

{B)Reporting information after notice and confirmation of errors
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(i)the person has been notified by the consumer, at the address specified by the
person for such notices, that specific information is inaccurate; and

(ii)the information is, in fact, inaccurate.

in conclusion, I have shown you and you have been put on notice that you are reporting
inaccurate information. The information is, in fact, inaccurate.

The continued reporting of this inaccurate information is a clear violation of the Law 15 USC
1681 s-2 of your responsibilities as a furnisher of information.

You have caused me and my family severe harm due to your negligence and inaccurate
reporting. This is a final opportunity to cure and delete this erroneous inaccurate account
from my consumer report.

YOU HAVE 10 Calendar days to DELETE this account from my consumer report.

Further, I have filed complaints with the Consumer Financial Protection Bureau (CFPB) and
Better Business Bureau (BBB) due to your ignoring my first request and notice.

Regards,
Joey Kimbrough

Enclosed: 1) First notice sent 2/14 with errors
2) Certified receipt of first notice from Snap-On Credit (dated 2/18)
3) Snap-On response fetter
